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                         EXHIBIT A
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 3                  IN fflE UNITED STATES DISTRICT COURT
                  FOR THE NOR111ERN DISTRICT OJ' CALIFORNIA
 4
     IN RE: SOCIAL MEDIA ADOLESCENT                        MDL No. 3047
 S   ADDICTION/PERSONAL INJURY PRODUCTS
     LIABil.JTY LmGATION                                   Cue No.: 4:22-md-03047-YGR-PHK
 6
                                                          DECLARATION OF fRANCES HAUGEN
 7   nns DOCUMENT RELATES TO:                             IN SUPPORT OF JOINT Urt.t:R BRID'
 8
     ALLMATIERS                                           Judge: Hon. Yvonne Gonzalez Rogers
 9                                                        Magistrate Judge: Hoo. Peter H. Kang

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                    DECLAJlATION Of FRANCES HAUOEN IN SUPPORT OF JOINT LE1TElt BRlEF
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  2
              I, Frances Haugen, declare as follows:
  3
              I.     I am over the age of 18 and have personal knowledge of the following facts. I
  4
      could competently testify to these facts if called upon to do so.
  s
              2.     I was an employee of Facebook, Inc. (now known as Meta) from June 2019 to
  6
      May 2021. I blew the whistle on Facebook in 2021 due to grave concerns during my time at
 7
      Facebook over choices made by the company to prioritize profits over safety.
 8
              3.     Today, I dedicate my time to serving as an advocate for accountability &
 9
      transparency in social media This includes working as founder and Chief ExeaJtive Officer of
10

11    Beyond the Screen, a DOOplofit dedicated to building an ecosystem c# accountability for the

12    social media industry.

13           4.      I provide this Declaration to provide additional information concerning the burden

14    in responding to the subpoena for documents served on me by Meta on March 4, 2025 (the

1S    "Subpoena").

16           5.      My counsel provided me with 1O'J search terms for me to run preliminary

17    searches in order to help assess the burden in responding to the Subpoena.

18           6.      Running each of these search terms across my two primaJy email addres.,es took

19    about I 0-15 hours.

20           7.      These searches yielded a total of 14,387 documents.

21
      I declare under penalty of perjury under the laws of the United States of America, pursuant to 28
22    U.S.C. § 1746, that the foregoing is true and correct to the best of my knowledge.

23    Executed this 17th day of June, 2025, in Carolina, Puerto Rico.
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                                                              Frances Haugen

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                               DECLAJtATION Of FRANCES HAUGEN IN SUPPORT OF JOINT LETIER BRIEF
